                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,                 §
                                                    §
               Plaintiffs,                          §
                                                    §
V.                                                  §
                                                    §
                                                               Case No. 5:21-cv-00844-XR
GREG ABBOTT, et al.,                                §
                                                                      [Lead Case]
                                                    §
               Defendants.                          §
                                                    §
HARRIS COUNTY REPUBLICAN PARTY, et al.,             §
                                                    §
                         Intervenor-Defendants.     §


                                                  ORDER

      Before the Court is the parties’ Joint Motion to Extend. After careful consideration, the Court

GRANTS the motion.

      The parties SHALL FILE a proposed scheduling order by no later than June 7, 2022.

      It is so ORDERED.

      SIGNED this 6th day of June, 2022.

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                                                        XAVIER RODRIGUEZ
                                                        UNITED STATES DISTRICT JUDGE




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